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             EXHIBIT 54
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October 30, 2023                                                                           Disha R. Patel


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Re: ModernaTX, Inc. et al v. Pfizer Inc. et al, Case No. 1:22-cv-11378-RGS (D. Mass.): Plaintiffs’
    Document Reproduction and Clawback

Counsel:

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Regards,
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